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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                        District of South Carolina


                  Scott Schanen Vaughn
                                                               )
                            Plaintiff
                                                               )
                        v.                                                    Civil Action No.     9:21-cv-00040-JD
                                                               )
   Greenwood County Detention Center, Southern
                                                               )
        Health Partners and Donna Miller
                         Defendant(s)                          )


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                  recover from the defendant (name)               the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of          %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                              .
O other: Plaintiff, Scott Schanen Vaughn, shall take nothing of Defendants, Greenwood County Detention Center,
Southern Health Partners and Donna Miller, as to the complaint filed pursuant to 42 U.S.C. § 1983 and this action is
dismissed without prejudice.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Joseph Dawson, III, United States District Judge, presiding. The Court having adopted the
Report and Recommendation set forth by the Honorable Molly H. Cherry, United States Magistrate Judge.


Date: June 7, 2021                                                           ROBIN L. BLUME, CLERK OF COURT


                                                                                             s/C. Pegram-Conner
                                                                                        Signature of Clerk or Deputy Clerk
